        4:16-cv-04095-SLD-JEH # 11             Page 1 of 3
                                                                                                     E-FILED
                                                                      Tuesday, 25 April, 2017 10:52:03 AM
                                                                            Clerk, U.S. District Court, ILCD

                                UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF ILLINOIS
                                    ROCK ISLAND DIVISION

MARSHA DAVENPORT,                                      )
                                                       )       Case No. 16-CV-4095-SLD-JEH
                  Plaintiff,                           )
                                                       )
       v.                                              )
                                                       )
ERIC FANNING, SECRETARY OF THE                         )
ARMY, and DEPARTMENT OF THE ARMY,                      )
                                                       )
                  Defendants.                          )

                                JOINT STIPULATION TO DISMISS

       Now comes Plaintiff, Marsha Davenport, by and through her attorney, Blake Parker, and

Defendants, Eric Fanning, Secretary of the Army, and Department of the Army, by and through

their attorney, Joshua I. Grant, Assistant United States Attorney for the Central District of Illinois,

and hereby stipulate to the dismissal of this case with prejudice. In support thereof, the parties state

the following:

       1.         On March 28, 2017, the parties reached a settlement agreement after the Court

conducted a settlement conference. Accordingly, the Court dismissed this matter without prejudice

pending the execution of a signed settlement agreement and filing of a stipulation to dismiss.

       2.         Rule 41 of the Federal Rules of Civil Procedure authorizes the voluntary dismissal

of a case when the parties file a signed stipulation of dismissal. Fed. R. Civ. P. 41(a)(1)(A)(ii). A

voluntary dismissal may be with prejudice when the parties agree to such a dismissal. Fed. R. Civ.

P. 41(a)(1)(B).

       3.         The parties have resolved this matter and signed a written settlement agreement.

       4.         The parties have agreed that this matter should be dismissed with prejudice and

without leave to reinstate.


                                                   1
        4:16-cv-04095-SLD-JEH # 11             Page 2 of 3



        5.      The Settlement Agreement and General Release provides that payment is to be

made to Plaintiff in the future. The parties agree to this Court retaining continuing jurisdiction over

this matter solely for the purpose of enforcing compliance with the terms of the Settlement

Agreement and General Release.

        6.      Plaintiff further agrees that upon completion of the payments under the terms of the

Settlement Agreement and General Release, Plaintiff shall file a Notice of Satisfaction of

Settlement with the Court.

        7.      The parties have also agreed that each party should bear their own attorney’s fees,

costs, and expenses.

        Wherefore, the parties respectfully request that this honorable Court enter an order

dismissing this matter with prejudice.

Respectfully Submitted,

For the Plaintiff:                                     For the Defendants:

S/Blake F. Parker (by consent)                         S/Joshua I. Grant
Blake F. Parker                                        Joshua I. Grant, IL Bar No. 6299901
PARKER LAW OFFICE                                      Assistant United States Attorney
719 South 2nd Street                                   United States Attorney’s Office
Clinton, IA 52732                                      318 South Sixth Street
Phone: 800-387-8167                                    Springfield, IL 62701
Email: blakeparkerlaw@gmail.com                        Phone: 217-492-4450
                                                       Email: Joshua.grant@usdoj.gov




                                                  2
        4:16-cv-04095-SLD-JEH # 11            Page 3 of 3



                                UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF ILLINOIS
                                    ROCK ISLAND DIVISION

MARSHA DAVENPORT,                                     )
                                                      )         Case No. 16-CV-4095-SLD-JEH
                  Plaintiff,                          )
                                                      )
        v.                                            )
                                                      )
ERIC FANNING, SECRETARY OF THE                        )
ARMY, and DEPARTMENT OF THE ARMY,                     )
                                                      )
                  Defendants.                         )

                                       Certificate of Service

        I hereby certify that on April 25, 2017, I filed the foregoing Joint Stipulation to Dismiss

with the Clerk of the Court using the CM/ECF system, which will send electronic notification of

said filing to:

        Blake F. Parker
        PARKER LAW OFFICE
        719 S. 2nd Street
        Clinton, IA 52732
        Email: blakeparkerlaw@gmail.com

Date: April 25, 2017                                            S/Joshua I. Grant
                                                                Joshua I. Grant
                                                                Assistant United States Attorney




                                                  3
